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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION



UNITED STATES OF AMERICA

vs.                                               CASE NO.: 1:06-CR-35-MMP/AK



BRUCE DAVID ADAMS,

                 Defendant.
                                        /

                                            ORDER

       This cause is before the Court on a Motion To Quash Warrant (doc. 22) as to Defendant,

BRUCE DAVID ADAMS, and instead issue a summons for Defendant’s appearance before

United States Magistrate Judge Allan Kornblum. Accordingly, it is

       ORDERED:

       That the Motion to Quash Warrant and issue a summons instead for Defendant, BRUCE

DAVID ADAMS (Doc. 22) is hereby GRANTED. That the Clerk of Court shall vacate the

order for warrant as to Defendant, BRUCE DAVID ADAMS, (doc. 22) and the warrant (doc. 18)

and instead issue a summons for the Defendant, BRUCE DAVID ADAMS, to appear before the

Magistrate Judge Allan Kornblum for Initial Appearance and Arraignment.

       DONE AND ORDERED this 28th           day of SEPTEMBER, 2006.

                                             s/ A. KORNBLUM
                                             ALLAN KORNBLUM
                                             UNITED STATES MAGISTRATE JUDGE
